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    j,                                                                                           jNu jja                u jjjjyg
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          5
          6                                    UNITED STATES DISTRICT COURT
          7                                            DISTRICT O F NEVADA

          8 UNITED STATES OF AM ERICA,                               )
          9                                                          )
                            Plaintiff,                               )
           f
         10f      v
                                                                     )
                             .
                                                                     )
                                                                     )         2:lI-CR-3IO-JCM IRJJI
         l1 RICHARD W HEATON,                                        )
                                                                     )
j        12                              D efendant.
         13                                      FINA L O RDER O F FORFEITURE                                                    1

         14                0nFebl'uary23,2012,theUnitedStatesDistrictCourtfortheDistrictofNevadaentereda
!
i        15        Prelim inary OrderofForfeiturepursuantto Fed. R.Crim.P.32.
                                                                            2(b)(1)and(2);Title2l,UnitedStates
         16 Code,Sections853(a)(1),(a)(2),and (p),based upon thepleaofguilty by defendantRICHARD
         17        W HEATON toacrim inaloffense,forfeitingspecificpropertyallegedint%eCriminallndictmentand
         18        agreedto in thePleaM em orandum ,and shownby theUnited Statestohavetherequisitenexustothe
         19        offensetowhichdefendantRICHARD W HEATON pled guilty.Indictment, ECF N o.46.M inutesof
         20        ChangeofPleaProceedings,ECFN o.107 PleaM emorandum ,ECF No. 109.Prelim inazy Orderof
         21 Forfeittzre,ECFN o.108.
         22                This Courtfinds the United States of Amelica published the notice ofthe forfeiture in
         23        accordance w ith the law via the officialgovernm entinternetforfeiture site, w ww vforfeiture,gov,
         24        consecutivelyfrom February25s2012,throughM archzs,zolz,notifyingallthirdpartiesoftheirright
         25        topetition theCourt.N oticeofFiling ProofofPublioation,ECF N o. 115.
         26        ...
II            Case 2:11-cr-00310-JCM-CWH           Document 142      Filed 05/30/12    Page 2 of 3
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k
1    .    j
!         p
          .                                                                 .
          11
           2             ThisCourtfindsno petition wasfiled herein by oronbehalfofarly person orentity andthe
!
i        2 tim e forfilingsuchpetitionsand claim shasexpired.
2
!        3               ThisCourttindsno petitionsarependingwithregardtotheassetsnam edherein andthetim e

'        4        forpresenting such petitionshasexpired.
                                                                                                                !
         5               TH EREFO RE,IT IS H EREBY OR DERED ,AD JUD GED ,AN D DECREED thata11right,
         6 title,and interest in the property hereinafter described is condernned,forfeited,and vested in the

         7 United StatesofAmericapursuantto Fed.R.Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P.
         8 32,2(c)(2)'
                     ,Title21,UnitedStatesCodesSections853(a)(1),(a)(2),and(p),andshallbedisposedof
         9 aocording to law :

         10                    a.     $8l,475.00inUnitedStatesCurrency(seizedfrom 24/7PrivateVaults,based
         11                           onkeysrecoveredfrom JacobLillonorabout4/13/11);
         12                    b,     $4,l05.00inUnitedStatesCurrency(seizedf'
                                                                             rom EdmundJ.Schroback
         13                           rcpresentingtheday'sdrugsalesofmarijuanabyCompletelyLegal1.0onor
         14                           about4/13/2011);
         15                    c.     $2,962,00inUnitedSotesCurrency(seizedfrom thecashregisterat
         16                           CompletelyLegal2.0onorabout4/13/2011);
         17                    d,     $2,585.00inUnitedStatesCurrency (seizedfrom thecashdrawerat
         18                           CompletelyEegal2.0onorabout8/3/2011);
         19                    e.     $l,314.00in UnitedStatesCurrency(seizedfrom masterbedroom ofJacob
         20                           Lill'shomeonorabout8/3/2011)*
                                                                  ,
         21                    f.     $12,056.00inUnitedStatesCurrency(seizedfrom baginJacobLill'svehicle
         22                           athishomeon orabout8/3/2011);
         23                    g.     $2,567.00inUnited StatesCurrency(seizedfrom cashdraweratCompletely
         24                           Legal3.0onorabout8/3/20l1);
         25                    h.     $7,432.00inUnitedStatesCurrency(seizedfrom JacobLill'sresidenceonor
         26                           about4/13/2011);
              1

                                                              2
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h.
                                                                                                          ;
                             $2,150.00inUnitedSotesCurrency(seizedfrom BankofAmericaAccount
                             No,501012187203inthenameofPM W ,Inc.,seizedonorabout8/5/2011);
                             $2,665.00inUnited StatesCurrency(seizedfro!nBankofAmericaAccotmt
                             No.501012645570 in the nameofEOS Ventures,LLC,seized on orabout
                             8/5/2011);and
                             2007 M ercedes CLK 350,V lN 2W 1787756145712215349,including

                             approximately$18,000inupgrades,includingacustom audiosystem (seized
                             onorabout4/13/11).
              IT IS FURTHER ORDERED,A DJUDGED,AND DECREED thatany and a1lforfeited
      funds,including butnotlim ited to,currency,currency equivalents, cetificatesofdeposit,aswellas
      any incom ederived asa resultoftheU nited StatesofA m erica'sm anagem entofany property forfeited
      herein,and theprooeedsfrom thesaleofany forfeited property shallbedisposed ofaccording to law .
              The Clerk ishereby directed to sendcopiesofthisOrderto a1lcounselofrecord and three
      certifiedcopiesto tbeUnite SutesAttorney'sOffice.
              D A TED this   C        dayof                    ,   2012.

                                                                           ?
                                                 > 1       STATES DISTRICT JUDGE
